

People v Woodworth (2017 NY Slip Op 04760)





People v Woodworth


2017 NY Slip Op 04760


Decided on June 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 9, 2017

PRESENT: WHALEN, P.J., CENTRA, LINDLEY, CURRAN, AND SCUDDER, JJ. (Filed June 9, 2017.) 


MOTION NO. (921/13) KA 09-02629.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMARK WOODWORTH, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








